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 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                SOUTHERN DIVISION

13   UNITED STATES OF AMERICA,              No. SA CR 20-00146-DOC

14             Plaintiff,                   GOVERNMENT’S EX PARTE APPLICATION
                                            TO MODIFY OCTOBER 9, 2020
15             v.                           PROTECTIVE ORDER; DECLARATION OF
                                            MARK TAKLA; EXHIBIT; PROPOSED
16 JASON FONG,                              ORDER

17             Defendant.

18

19        Plaintiff, United States of America, by and through its counsel

20   of record, the Acting United States Attorney for the Central

21   District of California and Assistant United States Attorney Mark

22   Takla, requests that the Court modify the October 9, 2020 protective

23   order in this case restricting the use and dissemination of the

24   specific information in the October 9, 2020 protective order

25   pursuant to Federal Rule of Criminal Procedure Rule 16(d)(1).

26              The government is in possession of Confidential Informant

27   (“CI”) materials and Personal Identifying Information (“PII”) (the

28   “PROTECTED INFORMATION”).
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 1                On October 9, 2020, pursuant to the parties’ stipulation,

 2   the Court issued a protective order that placed restrictions on the

 3   dissemination of discovery by defendant in this case, including

 4   materials like the PROTECTED INFORMATION.          At the time, defendant

 5   was represented by Katherine Corrigan.

 6                Paragraphs of the October 9, 2020 protective order state

 7   that CI and PII Materials may be reviewed by defendant only in the

 8   presence of defense counsel.      On several occasions, defendant’s

 9   current counsel, Karren Kenney, has expressed that due to the COVID-

10   19 pandemic and limits placed on contact visits at the Santa Ana

11   Jail, counsel has not been able to fully discuss the discovery with

12   defendant.

13                The government’s understanding is that visitation limits

14   at the Santa Ana jail are easing.          On April 28, 2021, a Santa Ana

15   Jail representative told government counsel that in-person visits

16   between inmates and counsel will resume on May 1, 2021.

17   Nonetheless, by this ex parte application, the government requests

18   that the October 9, 2020 protective order be modified to allow

19   counsel to allow counsel to leave discovery at the Santa Ana Jail,

20   so that defendant can view it.

21                On February 5 and 11, 2021, the government provided

22   defense counsel a draft modification of the protective order that

23   the government believed would allow counsel to leave discovery at

24   the jail.    On February 22, 2021, counsel stated she would not agree

25   to the modification.

26                On April 19, 2021, defense counsel again expressed concern

27   that the protective order made it difficult to provide discovery to

28   defendant in the Santa Ana Jail.       Counsel asked that the following

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 1   language be placed in a stipulation regarding the continuance

 2   request filed on April 26, 2021:

 3         Defense counsel represents access to her client is
           impaired given the COVID restrictions at the Santa Ana
 4         Jail and protective order over the discovery that is
           currently in place. The defendant is unable to
 5         personally review discovery at the courthouse t this time
           (as suggested by Judge Carter during the April 2, 2021
 6         hearing) due to the 7-day mandatory quarantine in place
           for each day the defendant is transported to the court.
 7

 8   (CR 63 at ¶ 3.)
 9               Government counsel again asked defense counsel whether she
10   would agree to a modification of the protective order.          Counsel
11   again objected noting that proposed paragraph 6(u)(2) required that
12   discovery marked HIGHLY SENSITIVE PROTECTIVE ORDER MATERIAL be
13   viewed in the presence of defense counsel.         Government counsel
14   informed her that, at this time, there was no discovery marked
15   HIGHLY SENSITIVE PROTECTIVE ORDER MATERIAL.         Currently there is no
16   discovery marked HIGHLY SENSITIVE PROTECTIVE ORDER MATERIAL.
17               On April 28, 2021, government counsel contacted the Santa
18   Ana Jail.     The jail representative confirmed in an email that the 7-
19   day quarantine is imposed before an inmate is placed into general
20   population.     (Takla Decl., Ex. A.)      He also confirmed that inmates
21   are able to make court appearances on consecutive days.           (Id.)    The
22   representative also confirmed that inmates who have been fully
23   immunized with a COVID-19 vaccine are not quarantined.          (Id.)     He
24   stated that vaccines are provided on a voluntary basis and offered
25   approximately every six to eight weeks.         (Id.)
26   ///
27   ///
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 1              Despite defendant’s objection, the government hereby

 2   requests modification of the protective order to allow defendant to

 3   view discovery outside the presence of his counsel.

 4   DATED: April 29, 2021                      TRACY L. WILKISON
                                                Acting United States Attorney
 5
                                                CHRISTOPHER D. GRIGG
 6                                              Assistant United States Attorney
 7                                              Chief, National Security Division

 8
                                                _______________________________
 9                                              MARK TAKLA
                                                Assistant United States Attorney
10
                                                Attorneys for Plaintiff
11
                                                UNITED STATES OF AMERICA
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 1                            DECLARATION OF MARK TAKLA

 2           I, Mark Takla, declare as follows:

 3           1.   I am an Assistant United States Attorney at the United

 4   States Attorney’s Office for the Central District of California.              I

 5   am assigned to prosecute the case United States v. Fong, SA CR 20-

 6   146-DOC.     I have knowledge of the facts set forth herein and could

 7   and would testify to those facts fully and truthfully if called and

 8   sworn as a witness.

 9           2.   Exhibit A is a true and correct copy of an email I

10   received from Correctional Manager Jaime Manriquez at the Santa Ana

11   Jail.

12           I declare under penalty of perjury under the laws of the United

13   States of America that the foregoing is true and correct and that

14   this declaration is executed at Santa Ana, California, on April 29,

15   2021.

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                                                MARK TAKLA
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                   EXHIBIT A
           Case 8:20-cr-00146-DOC Document 65 Filed 04/29/21 Page 7 of 7 Page ID #:459


Takla, Mark (USACAC)

From:                Manriquez, Jaime
Sent:                Wednesday, April 28, 2021 1:51 PM
To:                  Takla, Mark (USACAC)
Subject:             RE: 7-day Quarantine


Everythingiscorrectexceptvaccinationsareofferedeverysixtoeightweeksandarevoluntary.SAJdoesnotmandate
vaccinations.



                  Jaime Manriquez
                  CORRECTIONAL MANAGER
                  Santa Ana Police Department

    COMMUNITY
      FIRST




From:Takla,Mark(USACAC)
Sent:Wednesday,April28,20211:35PM
To:Manriquez,Jaime
Subject:7ͲdayQuarantine

Jaime,

Ijustwanttoconfirmourearlierconversationandmightputthisemailinacourtfilingifyouhavenoobjection.NonͲ
vaccinatedInmateswholeavetheSantaAnaJailarequarantinedfor7dayswhentheyreturnbeforereturningtothe
generalpopulation.ThequarantinedoesnotinterfereifthenonͲvaccinatedinmatehascourtappearanceson
consecutivedays.Vaccinatedinmatesarenotsubjecttothequarantine.Currently,thereissufficientvaccineforall
inmates,howeverthemedicalproviderusuallyvaccinatestheinmatesatthebeginningofeachmonth.

Also,IunderstandthatfaceͲtoͲfaceattorneyvisitsareresultingon1May.Letmeknowiftheinformationis
correct.Thanks.

Mark

MarkTakla
AssistantUnitedStatesAttorney
DeputyChief,TerrorismandExportCrimesSection
411W.4thStreet,Ste8000
SantaAna,CA92701




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